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                                               PRECEDENTIAL

           UNITED STATES COURT OF APPEALS
                FOR THE THIRD CIRCUIT

                  _______________________

                        No. 23-1094
                  _______________________


   PORT HAMILTON REFINING AND TRANSPORTATION,
                      LLLP,
                      Petitioner
                        v.

       U.S. ENVIRONMENTAL PROTECTION AGENCY
                 _______________________

          On Petition for Review from a Decision of the
               Environmental Protection Agency
                __________________________

                     Argued May 24, 2023

     Before: RESTREPO, McKEE, and SMITH, Circuit Judges

                      (Filed: July 25, 2023)
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          Diversity
                  __________________________

                    OPINION OF THE COURT
                  __________________________

   SMITH, Circuit Judge.

          Petitioner Port Hamilton Refining and Transportation,
   LLLP (Port Hamilton or the company) purchased an existing
   petroleum refinery located on St. Croix (Refinery) at a
   bankruptcy auction in December 2021. Port Hamilton hoped to
   resume operations at the Refinery, which had for decades
   served as the backbone of St. Croix’s local economy until it
   ceased operations in 2012. But in November 2022, the
   Environmental Protection Agency (EPA or the agency)
   notified Port Hamilton by letter that it would need a Prevention
   of Significant Deterioration (PSD) permit before the Refinery
   could resume operations.

          The PSD permitting program is one tool among many
   provided in the Clean Air Act (CAA) that seeks to curb
   excessive air pollution. To obtain a PSD permit, a facility must
   not contribute to the violation of applicable air quality
   standards and must implement the “best available control
   technology” to limit air pollution. 42 U.S.C. §§ 7475(a),
   7479(3). As is evident from the permit’s title, the PSD is a
   preventative measure. It applies to newly constructed
   stationary sources of air pollution and sources that undergo
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   emissions-altering modifications. Id. §§ 7475(a), 7479(2)(C),
   7411(a)(4).

           Since the PSD program’s inception, EPA has developed
   its own understanding of what constitutes a newly constructed
   facility. Under EPA’s so-called “Reactivation Policy” (Policy),
   an existing facility is “new” if EPA concludes that it had
   previously been “shut down” and restarted. Matter of Monroe
   Electric Generating Plant, Petition No. 6-99-2, at 7–8
   (June 11, 1999). According to EPA, a shutdown facility must
   obtain a PSD permit upon restart. Id. But if the EPA determines
   that the facility had only been “idled,” then it need not obtain
   a permit. Id.

           As relevant here, EPA issued two determinations as to
   the Refinery’s status under the Reactivation Policy. In 2018,
   EPA notified the Refinery’s prior owner that it need not obtain
   a PSD permit because the Refinery had been only “idled” since
   it last operated in 2012. Then in 2022, EPA reversed course
   and notified Port Hamilton that the agency considered the
   Refinery to have been “shut down” and accordingly would
   need to approve a PSD permit before operations could be
   resumed.

          Port Hamilton petitions this Court for review of
   EPA’s 2022 decision. The company contends that the
   Reactivation Policy as applied to the Refinery exceeds EPA’s
   statutory authority and that even if the policy is valid, EPA
   acted arbitrarily and capriciously. We agree that EPA has
   exceeded its statutory authority under the CAA. Accordingly,
   we will grant the petition and vacate EPA’s decision.

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     I.   Statutory and Regulatory Background

          A. Clean Air Act

           Congress enacted the Clean Air Act of 1963 primarily
   to provide federal funding for research on air pollution and to
   encourage states to develop air pollution control programs.
   Clean Air Act of 1963, Pub. L. 88-206, 77 Stat. 393; United
   States v. EME Homer City Generation, L.P., 727 F.3d 274, 278
   (3d Cir. 2013). The CAA preceded creation of EPA and left to
   the states much of the authority to regulate air pollution.

           The Clean Air Act Amendments of 1970 marked the
   beginning of a major shift in both the balance and breadth of
   federal regulation over air quality. The CAA, as amended,
   directed the newly created EPA to set “national ambient air
   quality standards,” or “NAAQS.” 42 U.S.C. §§ 7408–7409;
   Utility Air Reg. Grp. v. EPA, 573 U.S. 302, 308 (2014). The
   NAAQS set the maximum allowable levels of certain
   pollutants that, in EPA’s view, would protect public health.
   See 42 U.S.C. § 7409. The states were then required to submit
   “state implementation plans” that detailed how they planned to
   implement and enforce the NAAQS for each pollutant. 42
   U.S.C. § 7410; Utility Air, 573 U.S. at 308. The statute vests
   authority in EPA to approve or disapprove each state’s
   implementation plan. 42 U.S.C. § 7410; Train v. Nat. Res. Def.
   Council, Inc., 421 U.S. 60, 64–65 (1975); Gen. Motors Corp.
   v. United States, 496 U.S. 530, 532–33 (1990).

         In 1977, Congress further amended the CAA to enact
   the New Source Review (NSR) program. The NSR program
   aimed to combat air pollution proactively by requiring new
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   stationary sources of air pollution to meet certain requirements
   prior to the commencement of their construction. See 42 U.S.C.
   § 7475 (titled “Preconstruction requirements”); id.
   § 7502(c)(5) (requiring permits for “the construction and
   operation” of certain facilities). The program requires each
   new stationary source of air pollution to obtain one of two
   types of permits from the EPA depending on whether the
   geographic area is in “attainment” of each NAAQS.1 Utility
   Air, 572 U.S. at 308–09.

           The first type of permit is what is at issue in this case—
   the PSD permit—and applies to certain stationary sources of
   air pollution to be built in designated “attainment” areas. Id. To
   obtain a PSD permit, the proposed source must not cause or
   contribute to the violation of applicable air quality standards
   and must implement the “best available control technology”
   for each NAAQS pollutant. 42 U.S.C. § 7475(a)(3)–(4); Utility
   Air, 573 U.S. at 309. The stationary sources subject to PSD
   permitting are major emitting facilities “constructed” after
   August 7, 1977 (the date the New Source Review program
   went into effect). 42 U.S.C. § 7475(a). The CAA defines
   “construction” as “includ[ing] modification.” Id. § 7479(2)(C).
   “Modification” is “any physical change in, or change in the
   method of operation of, a stationary source which increases the
   amount of any air pollutant emitted by such source or which

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     The CAA requires each state to designate “all areas . . . in the
   State” as “nonattainment,” “attainment,” or “unclassifiable”
   for each of the NAAQS. 42 U.S.C. § 7407(d). “Attainment”
   means that the area has reached appropriate levels of the
   regulated air pollutant.
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   results in the emission of any air pollutant not previously
   emitted.” Id. § 7411(a)(4). In sum, the CAA provides that a
   major emitting facility must obtain a PSD permit if it is
   constructed or “modified” in an attainment area after 1977.

           The second permitting program, the New Source
   Performance Standards (NSPS) program, applies to stationary
   sources built in areas with air quality that does not meet the
   NAAQS, known as “nonattainment areas.” Gen. Motors, 496
   U.S. at 534. To obtain a NSPS permit, the applicant must
   ensure that the proposed source “compl[ies] with the lowest
   achievable emission rate,” arrange for “offsetting emissions
   reductions” such that the new source will not increase regional
   emissions, and meet other stringent requirements. 42 U.S.C.
   § 7503; Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,
   Inc., 467 U.S. 837, 840 (1984); New York v. EPA, 413 F.3d 3,
   13 (D.C. Cir. 2005).

          B. EPA’s Reactivation Policy

          Consistent with the CAA, EPA’s implementing
   regulations provide that the PSD program applies to any “new
   major stationary source or [] major modification.” 40 C.F.R.
   § 52.21(a)(2)(iii) (emphasis added). In a series of individual
   PSD permitting decisions, EPA formulated what it later called
   its “Reactivation Policy.” See Matter of Monroe, Petition
   No. 6-99-2. That policy purports to interpret the meaning of the
   word “new” in its regulations and addresses whether an
   existing but out-of-operation facility needs a PSD permit
   before restarting. Under the Policy, an existing facility is
   considered “new” (and thus in need of a PSD permit) if EPA
   determines that it had been “permanently shutdown” when it
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   previously ceased operations. Id. at 8. But if the facility had
   only been “idled,” then the existing facility is not “new.” Id. 7,
   10. To determine whether a facility had been permanently shut
   down, EPA looks to the following six factors:

          (1) “the amount of time the facility has been out of
              operation,”

          (2) “the reason for the shutdown,”

          (3) “statements by the owner or operator regarding
              intent,”

          (4) “cost and time required to reactivate the facility,”

          (5) “status of permits,” and

          (6) “ongoing maintenance and inspections that have
              been conducted during shutdown.”

   Id. at 8–9. This determination requires a fact-intensive inquiry.
   EPA has explained that “[n]o single factor is likely to be
   conclusive in the Agency’s assessment of these factors, and the
   final determination will often involve a judgment as to whether
   the owner’s or operator’s actions at the facility during
   shutdown support or refute any express statements regarding
   the owner’s or operator’s intentions.” Id. at 9. The scope of
   EPA’s authority under this policy is at the heart of what Port
   Hamilton challenges in the petition before this Court.




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       II.   Factual Background

           The Refinery’s first owner built it in the late 1960s
   pursuant to an agreement with the Government of the Virgin
   Islands (GVI) and the GVI’s Port Authority. That first owner,
   HOVENSA, LLC (Hovensa), operated the Refinery
   until 2012, when it announced plans to close the facility after
   significant financial losses. The GVI, recognizing the
   Refinery’s “economic importance to the Virgin Islands,”
   intervened by urging Hovensa to find a buyer for the Refinery.
   A 36 & n.30.2 Although the Refinery remained out of use since
   Hovensa’s 2012 announcement, Hovensa worked with GVI in
   attempts to sell the Refinery. Hovensa eventually entered
   bankruptcy in 2015, and the Refinery passed to the bankruptcy
   estate.

           Limetree Bay Terminals, LLC (Limetree) purchased the
   Refinery from the bankruptcy estate in 2016 and planned to
   restart the Refinery’s operations. In 2018, Limetree sent EPA
   a letter asking whether EPA would consider the Refinery a new
   source under its Reactivation Policy if Limetree resumed
   operations. EPA agreed with Limetree that the Refinery would
   not be a new source. EPA explained that, based on the
   Reactivation Policy’s six factors, the Refinery had only been
   “idled”—as opposed to “shut down”—since Hovensa ceased
   operations in 2012. A 71. That meant the Refinery did not



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     Both parties filed appendices in this appeal. We refer to the
   appendices filed by Port Hamilton and EPA as “A” and “SA,”
   respectively.
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    qualify as a “new” facility requiring a PSD permit.3 EPA
    further noted that although it had applied its Reactivation
    Policy to address Limetree’s questions, the agency “intend[ed]
    to reconsider the policy in the near future.” A 71 n.2. In
    particular, EPA expressed concern that it had not grounded the
    Reactivation Policy in “any specific regulatory provisions of
    the NSR program to support its position of ‘reactivation.’” Id.

            Later that year, Limetree applied for a Plantwide
    Applicability Limit (PAL) permit. The PAL permit is not at
    issue in this appeal, but it is relevant insofar as it sheds light on
    EPA’s own misgivings concerning the Reactivation Policy. In
    response to public comments addressing Limetree’s PAL
    application, the agency reiterated its earlier view that it
    “intended to reconsider the Reactivation Policy.” SA 209. EPA
    explained:

           [T]he Agency has determined it is not
           appropriate to continue applying the
           Reactivation Policy because the policy was not
           well-grounded in the NSR regulations, and it is
           not supported by the current NSR regulations. In


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      EPA’s 2018 letter also noted that it was not providing a “final
    determination” as to the applicability of the PSD program
    because Limetree had not submitted “emissions information
    and other specifics regarding [its] planned projects.” A 77. This
    statement appears to refer to the second basis for a PSD permit:
    if the facility is modified in a way that alters its emissions
    levels. See 42 U.S.C. §§ 7475(a), 7479(2)(C), 7411(a)(4).
    Neither party contends that the Refinery had been modified.
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          addition, the Reactivation Policy is difficult to
          follow and can produce inconsistent results
          based on subjective judgments about how to
          weigh the various factors against each other.

    Id.

           Over the next three years, Limetree made substantial
    financial investments in the Refinery so that it was up and
    running by February 2021. But the Refinery quickly ran into
    trouble. On February 4, 2021, a mixture of oil and water
    emitted from a flare at the Refinery.4 Limetree promptly
    received calls from local residents who complained that oil
    droplets had rained upon their homes, cars, and vegetable
    gardens, and in some cases had compromised water cisterns.

           Then, for five consecutive days in April 2021, the
    Refinery emitted hydrogen sulfide and sulfur dioxide at levels
    that exceeded emissions standards. Those emissions resulted in
    the shutdown of in-person learning at three St. Croix schools.
    In late May, the Refinery again emitted excessive sulfur
    dioxide, prompting the closure of the same three schools. One
    week later, the Refinery experienced another flaring incident
    in which droplets of oil rained on a nearby neighborhood.

          Soon thereafter, Limetree advised EPA that it would
    cease oil production for an unspecified period of time. Two
    days later, the agency issued an emergency order under


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      A flare is a structure used to burn off excess refinery-
    generated gases.
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    Section 303 of the CAA, 42 U.S.C. § 7603, requiring Limetree
    to immediately cease all operations at the Refinery.

            In July 2021, just two months later, Limetree filed for
    bankruptcy and the Refinery was put up for sale a third time.
    In September 2021, EPA signaled that despite its earlier
    comments, it planned to continue applying the Reactivation
    Policy. It published a notice in the bankruptcy reading room
    advising that “[a] prospective purchaser may also be required
    to obtain a Prevention of Significant Deterioration (‘PSD’)
    permit under the Clean Air Act to restart the refinery.” SA 199.
    The notice explained that “EPA has required PSD permits for
    restarting long-dormant facilities that qualify as major
    stationary sources because this action can qualify as either the
    construction of a new source or a major modification of an
    existing one.” Id.

           In December 2021, Port Hamilton submitted questions
    to the U.S. Department of Justice and EPA about the permits it
    would need to operate the Refinery. Later that month, and
    before it received a response from DOJ and EPA, Port
    Hamilton purchased the Refinery from Limetree’s bankruptcy
    estate. The agency responded to Port Hamilton’s inquiry,
    advising in March of 2022, that based on the information it
    had, there were “strong indicators” that Port Hamilton would
    need a PSD permit to start up the Refinery. SA 248.

           EPA issued its final determination as to PSD permitting
    for the Refinery in November 2022 (Final Determination
    Letter). Although EPA’s application of the Reactivation Policy
    in 2018 led it to conclude that the Refinery had been “idled”
    since 2012, its 2022 Determination Letter informed Port
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    Hamilton that it considered the Refinery to actually have been
    “shut down” since Hovensa ceased operations in 2012. A 23.
    The agency noted that it arrived at its 2022 decision after
    considering a more developed record than it had reviewed
    in 2018.

           Port Hamilton timely petitioned this Court for review of
    the Final Determination Letter. Port Hamilton contends that
    EPA’s application of the Reactivation Policy exceeds its
    statutory authority because the CAA applies the PSD program
    only to newly constructed facilities and modifications. Because
    the Refinery meets neither of those criteria, Port Hamilton
    argues, the agency exceeded its statutory authority by requiring
    the company to obtain a PSD permit for the Refinery.
    Alternatively, Port Hamilton argues that even if the
    Reactivation Policy is valid, EPA acted arbitrarily and
    capriciously by reaching two opposing conclusions in 2018
    and 2022.

    III.   Analysis5

           Port Hamilton contends that EPA has exceeded its
    authority under the Clean Air Act. We agree. The Clean Air
    Act unambiguously limits the PSD program’s application to
    newly constructed or modified facilities. The Refinery is not
    new and has not undergone a “modification” as the Act defines
    that term. The EPA therefore exceeded its authority by


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     We have jurisdiction to review EPA’s Final Determination
    Letter because it is a “final action” within the meaning of 42
    U.S.C. § 7607(b)(1).
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    requiring Port Hamilton to obtain a PSD permit for the
    Refinery.

           We begin and end our analysis with the unambiguous
    text of the CAA.6 Section 7475(a) provides that “[n]o major
    emitting facility on which construction is commenced after
    August 7, 1977, may be constructed” in an attainment area
    without a PSD permit. 42 U.S.C. § 7475. The statute defines
    “construction” as including “modification.” Id. § 7479(2)(C).
    The plain text here is straightforward. Reading these two
    sections together, major emitting facilities constructed or
    modified in attainment areas after 1977 are required to obtain
    a PSD permit.

            A different provision of the CAA confirms that
    Congress chose not to apply the PSD program to shutdown
    facilities upon their restart. Section 7491 applies to facilities
    “in existence on August 7, 1977, but which ha[ve] not been in
    operation for more than fifteen years.” Id. § 7491(b)(2)(A).
    Under that provision, if the out-of-operation facility emits air
    pollutants that impair visibility, the facility must install “the
    best available retrofit technology . . . for controlling emissions


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      Because the statute is clear, we need not consider whether
    Chevron or Auer deference is appropriate. Johnson v. Guzman
    Chavez, 141 S. Ct. 2271, 2291 n.9 (2021) (“Chevron deference
    does not apply where the statute is clear.”); EME Homer City
    Generation, 727 F.3d at 291 n.17 (concluding that the Court
    need not “defer to the EPA’s interpretation of the PSD
    regulations . . . because such an interpretation would contradict
    the unambiguous text of § 7475(a)”).
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    . . . for the purpose of eliminating or reducing” visibility
    impairment. Id. These visibility protections reach—in explicit
    terms—the same sort of circumstances that EPA contends
    trigger the need for a PSD permit. That is, § 7491 applies to
    long out-of-use facilities or, as EPA might call them,
    “shutdown” facilities.

            But Congress chose not to include such explicit terms
    in § 7475. We must assume, then, that § 7475 means what it
    says: stationary sources of air pollution must obtain a PSD
    permit if they are constructed or modified after 1977. Had
    Congress intended for the PSD program to apply to shutdown
    facilities, it would have used the clear language it included in
    § 7491. See Barnhart v. Sigmon Coal Co., 534 U.S. 438, 452
    (2002) (“When ‘Congress includes particular language in one
    section of a statute but omits it in another section of the same
    Act, it is generally presumed that Congress acts intentionally
    and purposely in the disparate inclusion or exclusion.’”
    (quoting Russello v. United States, 464 U.S. 16, 23 (1983))).

            Yet EPA contends that § 7475 is ambiguous because it
    fails to address exactly what sort of construction triggers the
    need for a PSD permit. The agency argues that the phrase
    “construction is commenced” could refer to construction
    commenced at a shutdown facility in preparation for a restart.
    But EPA overlooks the second half of § 7475(a). That portion
    provides that no major emitting facility “may be constructed”
    in an attainment area if that construction is commenced
    after 1977. Id. (emphasis added). That text directly speaks to
    the question that EPA has posed. The type of construction that


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    requires a PSD permit is construction commenced after 1977
    that brings a major emitting facility into existence.

            EPA next contends that the statute’s definition of
    “construction” is ambiguous. The CAA defines “construction”
    as follows: “The term ‘construction’ when used in connection
    with any source or facility, includes the modification (as
    defined in section 7411(a) of this title) of any source or
    facility.” Id. § 7479(2)(C). EPA seizes on the word “includes.”
    Because the definition only “includes” modification, EPA
    argues, the statute leaves open the possibility that there are
    other types of construction also covered by the statute.

            But we have already held that § 7475 and § 7479 set out
    an exclusive definition of “construction.” In United States v.
    EME Homer City Generation, L.P., we explained that the
    CAA’s PSD permitting provisions unambiguously extended
    the PSD program to construction and modification alone, and
    not “operation” as EPA had argued. 727 F.3d at 284; see also
    id. at 290 (“In short, § 7475(a) unambiguously prohibits only
    constructing or modifying a facility without meeting PSD
    requirements.”). We also noted that the statute’s definition of
    construction “include[s]” modification, but “does not include
    ‘operation.’” Id. The same goes for EPA’s position here. The
    CAA’s definition of construction includes “modification” but
    does not include “restart after a shutdown” or language to that
    effect. The absence of any such language is especially notable
    because, as discussed above, the CAA’s visibility protections
    explicitly extend to facilities that had ceased operations for
    prolonged periods of time. See 42 U.S.C. § 7491(b)(2)(A).
    Instead, as we held in EME Homer, the CAA limits the PSD

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    program’s reach to only two circumstances: construction and
    modification. Id. at 284–85.

           EPA’s Reactivation Policy extends the PSD program
    beyond those limited circumstances. Under that policy,
    because EPA in 2022 determined that the Refinery had been
    “shut down,” Port Hamilton would need to obtain a PSD permit
    before it could resume its operations. This application of the
    PSD program strays from the unambiguous text of the CAA.
    The parties do not dispute that Hovensa built the Refinery
    before 1977, nor does the agency contend that Port Hamilton
    had “modified” the Refinery within the meaning of the statute.
    EPA therefore exceeded its statutory authority by requiring
    Port Hamilton to obtain a PSD permit for the Refinery. We
    conclude that EPA’s Final Determination Letter must be
    vacated.7

    IV.    Conclusion

           We will grant Port Hamilton’s petition for review and
    vacate EPA’s Final Determination Letter.




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      Because we hold that EPA’s Reactivation Policy exceeds its
    statutory authority, we need not decide whether EPA applied
    the Reactivation Policy arbitrarily and capriciously as to Port
    Hamilton.
                                  17
